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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                          : CASE NO: 18-71491-PMB
                                                : CHAPTER: 13
                                                :
ERIC LLOYD DAVIS                                :
     Debtor                                     :
                                                :

                       NOTICE OF APPEARANCE AND REQUEST
                          FOR SERVICE OF ALL NOTICES

       Deutsche Bank National Trust Company (hereinafter referred to as “Creditor”) hereby

enters its appearance and the law firm of Rubin Lublin, LLC, pursuant to Bankruptcy Rules 2002

and 9010, hereby enters their appearance as attorneys for Creditor with regard to all matters and

proceedings, pleadings and complaints and adversary proceedings filed in connection with the

above-referenced case, showing counsel's name, office address and telephone number as follows:

                                      Lisa F. Caplan, Esq.
                                      Rubin Lublin, LLC
                              3145 Avalon Ridge Place, Suite 100
                                 Peachtree Corners, GA 30071
                                        (877) 813-0992
                                   lcaplan@rubinlublin.com

and hereby requests that the Clerk of Court add the Law Firm to the mailing matrix for said

Creditor.
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              PLEASE TAKE FURTHER NOTICE that this request is made without submitting

to the jurisdiction of the Court, without waiving service of process or otherwise waiving any

rights.


Respectfully submitted,

Rubin Lublin, LLC

By:/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor



                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing by depositing same in the U.S.
Mail, with adequate postage affixed thereon to the said parties as follows:


Eric Lloyd Davis
5457 Glenridge View
Atlanta, GA 30342

Melissa J. Davey, Trustee
260 Peachtree Street, NW
Suite 200
Atlanta, GA 30303

This 4th day of January, 2019

/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
